            Case 1:20-cv-06789-ER Document 12 Filed 11/05/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

STACEY MERCER, an individual,
                                Plaintiff,
                                                                        ORDER
                      – against –
                                                                    20 Civ. 6789 (ER)
BAY VIEW STREET INN, LLC d/b/a 16 Bay
View, a Maine limited liability company,
                             Defendant.


Ramos, D.J.:

         The Court having been advised that all claims asserted herein have been settled, it is

ORDERED, that the above-entitled action be and hereby is discontinued, without costs to either

party, subject to reopening should the settlement not be consummated within thirty (30) days of

the date hereof. The Clerk of Court is also respectfully directed to terminate the motion. Doc.

11.

         Any application to reopen must be filed within thirty (30) days of this Order; any

application to reopen filed thereafter may be denied solely on that basis. Further, the parties are

advised that if they wish the Court to retain jurisdiction in this matter for purposes of enforcing

any settlement agreement, they must submit the settlement agreement to the Court within the

next thirty (30) days with a request that the agreement be “so ordered” by the Court.


         SO ORDERED.


Dated:    November 5, 2020
          New York, New York
                                                                    Edgardo Ramos, U.S.D.J.
